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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-cv-02533-EWN-MJW

  THOMAS MONTOYA,

  Plaintiff,

  v.

  BOARD OF COUNTY COMMISSIONERS, CHAFFEE COUNTY, COLORADO,
  CHAFFEE COUNTY SHERIFF TIMOTHY WALKER,
  CHAFFEE COUNTY DEPUTY SHERIFF SCOTT GLENN,
  DAVID PLATT,
  BOARD OF COUNTY COMMISSIONERS, PARK COUNTY, COLORADO,
  PARK COUNTY SHERIFF FRED WEGENER,

  Defendants.

         MOTION FOR PROTECTIVE ORDER FROM DEFENDANT WEGENER AND
                       REQUEST FOR EXPEDITED RULING

               Defendant Fred Wegener,1 by and through counsel, Andrew D. Ringel, Esq. and Edmund

  M. Kennedy, Esq. of Hall & Evans, L.L.C., respectfully submits the following Motion for

  Protective Order and Request for Expedited Ruling, pursuant to Fed. R. Civ. P. 26(c) as follows:

                               COMPLIANCE WITH D.C.COLO.L.CIV.R 7.1(A)

               Pursuant to D.C.Colo.LCivR 7.1(A), counsel for Defendant Wegener, Andrew D. Ringel,

  Esq. conferred with Plaintiff’s Counsel, Marcel Krzystek, Esq., concerning this Motion and was

  informed that Plaintiff opposes the Motion.         The undersigned has conferred with Anthony


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           As of the time of filing this Motion, Defendant Sheriff Timothy Walker’s deposition
  has yet to be scheduled. The undersigned believes the same issue raised here will be raised
  on behalf of Defendant Walker since Plaintiff has indicated a desire to depose him in Denver,
  Colorado as well, rather than in Salida, Colorado, where Sheriff Walker works and resides.
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  Melonakis, Esq., counsel for Defendant Scott Glenn, and David Platt, a pro se Defendant, and

  have been informed that neither Defendant opposes this Motion.

                                            INTRODUCTION

          Plaintiff Thomas Montoya filed this action against Defendants under 42 U.S.C. § 1983.

  Plaintiff asserts four claims for relief: (1) against Defendants Board of County Commissioners of

  Chaffee County, Sheriff Tim Walker, Scott Glenn and David Platt under the Fourth, Eighth and

  Fourteenth Amendments for allegedly using excessive force based on the Taser incident of

  October 16, 2003, (2) against all Defendants under the Eighth Amendment for failure to provide

  medical care; (3) against Defendants Board of County Commissioners of Chaffee County and

  Sheriff Tim Walker under the Eighth and Fourteenth Amendments for their alleged failure to

  train and supervise; and (4) against all Defendants for an alleged conspiracy.

          On July 11, 2006, Plaintiff noticed the deposition of Defendant Fred Wegener to be taken

  at the office of Plaintiff’s counsel in Denver, Colorado.        [See Notice of Deposition, attached

  hereto as Exhibit A]. Sheriff Wegener resides in Fairplay, Colorado, which is a one hundred and

  seventy-two mile roundtrip to Denver, Colorado.           As such, Sheriff Wegener now moves this

  Court for a Protective Order requiring Plaintiff to take his deposition in Fairplay, Colorado, the

  place Sheriff Wegener resides and works.

                                           STANDARD OF REVIEW

          A district court has broad discretion to establish the time and place of depositions. Hyde

  & Drath v. Baker, 24 F.3d 1162, 1166 (9th Cir. 1994). An examining party may set the time and

  place for deposition of another party wherever he wishes, subject to the power of the court to




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  grant a protective order designating a different place. Id.; Farquhar v. Shelden, 116 F.R.D. 70

  (E.D. Mich. 1987); Fed. Civ. Proc. Rule 26(c).

                                           ARGUMENT

          Courts are more willing to protect a defendant from having to travel far from his

  residence for the taking of depositions than for a plaintiff. Abdullah v. Sheridan Square Press,

  Inc., 154 F.R.D. 591 (S.D.N.Y. 1994); 8 Wright & Miller § 2112, at 409-10 (1970); see also

  Buzzeo v. Board of Education, Hemptstead, 178 F.R.D. 390, 392 (E.D.N.Y. 1998) (“’[T]he

  plaintiff is generally required to bear any reasonable burdens of inconvenience that the action

  presents.’”).   A review of case law addressing the issues raised in this Motion support the

  granting of this protective order.    Sheriff Wegener, as the highest-ranking law enforcement

  officer in Park County, must not be required to travel one hundred seventy-two miles roundtrip

  because it is crucial for him to be available for issues that may arise within the Sheriff’s

  Department.

          In Perry v. Edwards, 16 F.R.D. 131 (D. Mo. 1954), the plaintiff, a Missouri resident,

  sought to compel the defendant, a resident of Michigan, to attend a deposition in Kansas City.

  The court held that requiring the defendant to leave his work and travel, at his own expense,

  from his home to Kansas City and back, was unreasonable and oppressive. In Pinkham v. Paul,

  91 F.R.D. 613 (D. Maine 1981), the court noted that although a court may order a defendant to

  appear at any convenient place, case law indicates that “it will be presumed that the defendant

  will be examined at his residence or place of business or employment.” Pinkham, 91 F.R.D. at

  615 (citing 4 Moore's Federal Practice § 26.70[1-3], at 26-514); see also Farquhar v. Shelden,

  116 F.R.D. 70 (E.D. Mich. 1987) (In the absence of special circumstances, party seeking



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  discovery must go where desired witnesses are normally located); Undraitis v. Luka, 142 F.R.D.

  675 (N.D. Ind. 1992) (As a general rule, a plaintiff may be required to attend deposition in

  district where case was filed, but a defendant may insist upon being deposed in district where he

  or she resides); Metrex Research Corp. v. U.S., 151 F.R.D. 122 (D. Colo. 1993) (Absent

  exceptional circumstances, the deposing party should be required to take deposition at location in

  vicinity in which the deponent resides if the deponent resides at substantial distance from the

  deposing party's residence, even if the deponent is a party).

          In Buzzeo, supra, the plaintiff attempted to depose a number of defendants, who were

  public employees in the Hempstead School District.        See Buzzeo, 178 F.R.D. at 391. The Court

  determined the defendants had shown good cause for requiring the deposition to be taken where

  the defendants reside in part because the cost of having them travel would be at taxpayer expense

  and the importance of promoting the well-running of the school by having the defendants

  available for school issues was persuasive. Id. at 392-93. Here, the expense of any travel would

  be born by the taxpayers of Park County and requiring Sheriff Wegener to travel one hundred

  and seventy-two miles roundtrip would not promote the well-running of the Sheriff’s

  Department. It is important for the Sheriff to be available to law enforcement personnel within

  his department.     The only expense for Plaintiff would be the time and travel of his counsel.

  Accordingly, the cost, convenience and litigation efficiency tip the scales in favor of conducting

  the deposition in Fairplay, Colorado. In fact, Defendant David Platt, who is to be deposed that

  same day, has expressed to the undersigned that the taking of his deposition in Fairplay,

  Colorado would be more cost effective and convenient for him since he works and resides in

  Salida, Colorado.



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         Again, the only party that benefits from having the depositions of Mr. Platt and Sheriff

  Wegener in Denver, Colorado is Plaintiff and “’the plaintiff is generally [the one] required to

  bear any reasonable burdens of inconvenience that the action presents.’”      Buzzeo, 178 F.R.D. at

  392.

                                              CONCLUSION

         For the reasons set forth above, Defendants Fred Wegener respectfully requests this

  Court grant him a protective order requiring Plaintiff to take his deposition in Fairplay,

  Coloraod, and for all other and further relief as this Court deems just and appropriate.

         Dated this 14th day of July 2006.

                                                      Respectfully submitted,


                                                      s/ Edmund M. Kennedy, Esq.
                                                      Andrew Ringel, Esq.
                                                      Edmund M. Kennedy, Esq.
                                                      Hall & Evans, L.L.C.
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                                                      COMMISSIONERS OF PARK
                                                      COUNTY, PARK COUNTY SHERIFF
                                                      FRED WEGENER, BOARD OF
                                                      COUNTY COMMISSIONERS,
                                                      CHAFFEE COUNTY, COLORADO,
                                                      CHAFFEE COUNTY SHERIFF
                                                      TIMOTHY WALKER




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                                          CERTIFICATE OF MAILING

         I hereby certify that on this 14th day of July 2006, I electronically filed the foregoing
  MOTION FOR PROTECTIVE ORDER FROM DEFENDANT WEGENER AND
  REQUEST FOR EXPEDITED RULING with the Clerk of Court using the CM/EFC system
  which will send notification of such filing to the following e-mail addresses:

          David A. Lane, Esq.
          dlane@killmerlane.com

          Marcel Krzystek, Esq.
          mkrzystek@killmerlane.com


  and I hereby certify that I have mailed or served the document or paper to the following non
  CM/EFC participants in the manner indicated by the non-participant’s name:


  David Platt
  Chaffee County Patrol & Investigation
  1115 E. Rainbow Blvd.
  Salida, CO 81201-2913

                                                                  s/Loree Trout, Secretary to
                                                                  Andrew D. Ringel, Esq.
                                                                  Edmund M. Kennedy, Esq.
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                                                                  COMMISSIONERS OF
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                                                                  WALKER, BOARD OF COUNTY
                                                                  COMMISSIONERS OF PARK
                                                                  COUNTY, AND FRED
                                                                  WEGENER



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